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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Elyssa Eloise Lingle,                         )       Case No. 1:18-cr-124
                                              )
               Defendant.                     )


       On October 19, 2018, the court revoked defendant’s pretrial release and ordered that she be

detained pending trial. She has since been housed at the Heart of America Correctional and

Treatment Center in Rugby, Dakota.

        On November 30, 2018, defendant filed a Motion to Modify Order of Detention. Defendant

has been accepted by Circle Tree Ranch, a residential drug abuse treatment program in Tuscon,

Arizona. She requests to be released on December 9, 2018, so that she can travel to Circle Tree

Ranch for treatment. She has provided the Pretrial Services Office with her travel itinerary.

       There being no objection from the Government, the court GRANTS defendant’s motion

(Doc. No. 57). Defendant shall be released on December 9, 2018, no later than 8:00 a.m. She will

be subject to the following conditions while on release:

       (1)     Defendant shall not violate federal, state, tribal, or local law while on release.

       (2)     Defendant shall appear in court as required and surrender for any sentence imposed.

       (3)     Defendant shall report to the Pretrial Services Office at such times and in such

               manner as designated by the supervising officer.

       (4)     Defendant shall refrain from the use of alcohol; any use or possession of a narcotic


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      drug and other controlled substances defined in 21 U.S.C. § 802 or state statute,

      unless prescribed by a licensed medical practitioner, and any use of inhalants.

      Defendant shall submit to drug/alcohol screening at the direction of the Pretrial

      Services Officer to verify compliance. Failure or refusal to submit to testing or

      tampering with the collection progress or specimen may be considered the same as

      a positive test.

(5)   Defendant shall submit her person, residence, vehicle, and/or possessions to a search

      conducted by the Pretrial Services Officer at the request the request of the Pretrial

      Services Officer. Failure to submit to a search may be grounds for revocation of

      pretrial release. Defendant shall notify any other residents that the premises may be

      subject to searches pursuant to this condition.

(6)   Defendant shall not possess a firearm, destructive device, or other dangerous weapon.

(7)   Upon her release, defendant shall report to and thereafter reside at Circle Tree

      Ranch.    Upon her arrival, she shall contact Pretrial Services Officer Allison

      Gehringer at (701) 297-7244. She shall fully participate in Circle Tree Ranch’s

      inpatient treatment program, and comply with all rules and regulations imposed by

      its program and/or employees.

(8)   Defendant shall sign all releases of information requested by the Pretrial Services

      Officer so that her progress and participation in treatment may be monitored.

(9)   At least four days before completion of, or upon termination from, the inpatient

      treatment program, defendant shall contact the Pretrial Services officer to discuss her

      living arrangements.


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(10)   Upon his discharge from the treatment program, defendant shall reside at a residence

       approved by the Pretrial Services officer and not change this residence without

       permission from the Pretrial Services officer. If the Pretrial Services Officer

       determines that defendant is in need of a placement in a residential facility, defendant

       shall voluntarily report to the designated facility, comply with the facilities rules and

       regulations, and participate in all recommended programming. If the Pretrial Services

       Officer does not approve of defendant’s proposed residence and determined that

       either the residential facility lacks space for defendant or that a placement of

       defendant at a residential facility is inappropriate, defendant shall report to the

       United States Marshal’s office in Bismarck with the understanding that she shall be

       detained pending further order of the court.

IT IS SO ORDERED.

Dated this 30th day of November, 2018.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




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